        Case 2:17-cv-00207-RWS Document 28 Filed 04/30/18 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

DAN C. TUTTLE, JR., et al.,               )
                                          )
             Plaintiffs,                  )
                                          )
      v.                                  )         CIVIL ACTION NO.:
                                          )         2:17-CV-207-RWS
KOLTER SIGNATURE HOMES GA,                )
LLC, et al.,                              )
                                          )
             Defendants.                  )
                                          )

 PLAINTIFFS’ NOTICE TO THE COURT OF DATES OF SERVICE OF
ADMINISTRATOR OF U.S. ENVIRONMENTAL PROTECTION AGENCY
AND ATTORNEY GENERAL WITH PROPOSED CONSENT JUDGMENT

      Plaintiffs hereby notify the Court, as required by 40 C.F.R. § 135.5(b)(2), that

on April 26, 2018, the Administrator of the U.S. Environmental Protection Agency

(“EPA”) and the Attorney General received copies of the Proposed Consent Decree

filed by the Parties, see ECF No. 27-1, as evidenced by the attached return receipts.

See Ex. A (copy of return receipts and letters). As such, the 45-day period of review

by the EPA and Attorney General of the Proposed Consent Decree under Section

1365(c)(3) of the Federal Water Pollution Control Act and 40 C.F.R. § 135.5, ends

on Monday, June 11, 2018. Therefore, under Section 1365(c)(3) of the Act, the

Court may enter the Proposed Consent Decree after Monday, June 11, 2018.
       Case 2:17-cv-00207-RWS Document 28 Filed 04/30/18 Page 2 of 3




                                  Respectfully submitted,


Dated: April 30, 2018             /s/ Tyler J. Sniff
                                  Donald D.J. Stack
                                  Georgia Bar No. 673735
                                  Tyler Joseph Sniff
                                  Georgia Bar No. 403125
                                  STACK & ASSOCIATES, P.C.
                                  260 Peachtree Street, Suite 1200
                                  Atlanta, Georgia 30309
                                  Telephone: (404) 525-9205
                                  Facsimile: (404) 522-0275
                                  E-mail: dstack@stack-envirolaw.com
                                  tsniff@stack-envirolaw.com

                                  Counsel for Plaintiffs




                                    2
        Case 2:17-cv-00207-RWS Document 28 Filed 04/30/18 Page 3 of 3




                        CERTIFICATE OF SERVICE

      I hereby certify that on April 30, 2018 I electronically filed the foregoing

using the Court’s CM/ECF system and thus also served the foregoing on all counsel

of record.



Dated: April 30, 2018                /s/ Tyler J. Sniff
                                     Tyler J. Sniff
                                     Georgia Bar No. 403125
                                     STACK & ASSOCIATES, P.C.
                                     260 Peachtree Street, Suite 1200
                                     Atlanta, Georgia 30303
                                     Telephone: (404) 525-9205
                                     Facsimile: (404) 522-0275
                                     E-mail: tsniff@stack-envirolaw.com

                                     Counsel for Plaintiffs
